                                           Case 3:24-cv-02030-JSC        Document 22         Filed 10/08/24      Page 1 of 5




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       EMIL JAMES KOHAN,                                 Case No. 3:24-cv-02030-JSC
                                                        Plaintiff,
                                   8
                                                                                             ORDER RE: DEFENDANT'S MOTION
                                                 v.                                          TO COMPEL ARBITRATION AND
                                   9
                                                                                             STAY CASE
                                  10       LUCID GROUP USA, INC.,
                                                                                             Re: Dkt. No. 18
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           Emil James Kohan brings warranty claims against Lucid Group USA, Inc., a vehicle

                                  14   manufacturer Plaintiff purchased a vehicle from in March 2022. (Dkt. No. 1-1.)1 Pending before

                                  15   the Court is Lucid Group USA, Inc.’s motion to compel arbitration. (Dkt. No. 18.) After carefully

                                  16   considering the parties’ submissions and having had the benefit of oral argument on October 3,

                                  17   2024, the Court GRANTS the motion to compel. Kohan and Lucid Group USA, Inc. are parties to

                                  18   an agreement with a mandatory arbitration provision and a delegation clause. As the valid

                                  19   delegation clause delegates issues of scope to the arbitrator, the Court must compel arbitration.

                                  20                                    COMPLAINT ALLEGATIONS

                                  21           Shortly after Plaintiff purchased the vehicle at issue—a Lucid Grand Touring—

                                  22   he “experienced the various defects … that substantially impair the use, value, and safety of the []

                                  23   Vehicle.” (Dkt. No. 1-1 at ¶ 7.) That violates the Manufacturer’s express written warranties. (Id.

                                  24   at ¶ 7.) On three separate occasions, Plaintiff brought the vehicle to a Manufacturer’s service

                                  25   center for repairs, but Defendant has not resolved the issues. (Id. at ¶ 11.) In total, the vehicle has

                                  26   been at a service center for at least 42 days and Defendant has been unable to or failed to repair the

                                  27

                                  28
                                       1
                                        Record citations are to material in the Electronic Case File (“ECF”); pinpoint citations are to the
                                       ECF-generated page numbers at the top of the documents.
                                        Case 3:24-cv-02030-JSC           Document 22         Filed 10/08/24     Page 2 of 5




                                   1   vehicle. (Id. at ¶¶ 12-14.) Plaintiff has lost confidence in the vehicle’s reliability and experienced

                                   2   a substantial impairment of the use, value, and/or safety of the vehicle, and has therefore revoked

                                   3   acceptance of the vehicle in writing. (Id. at ¶¶ 16, 18.)

                                   4                                              DISCUSSION

                                   5          The Federal Arbitration Act (FAA) governs arbitration agreements “evidencing a

                                   6   transaction involving commerce.” 9 U.S.C. § 2. Such agreements “shall be valid, irrevocable, and

                                   7   enforceable, save upon such grounds as exist at law or in equity for the revocation of any

                                   8   contract.” Id. In resolving a motion to compel arbitration under the FAA, a court’s inquiry is

                                   9   limited to two “gateway” issues: “(1) whether a valid agreement to arbitrate exists and, if it does,

                                  10   (2) whether the agreement encompasses the dispute at issue. If both conditions are met, the [FAA]

                                  11   requires the court to enforce the arbitration agreement in accordance with its terms.” Lim v.

                                  12   TForce Logistics, LLC, 8 F.4th 992, 999 (9th Cir. 2021) (internal quotation marks and citations
Northern District of California
 United States District Court




                                  13   removed).

                                  14          Defendant moves to compel arbitration based on the Purchase Agreement Plaintiff signed

                                  15   when he purchased the vehicle. The Purchase Agreement includes an arbitration provision

                                  16   (“Arbitration Agreement”) which states in relevant part:

                                  17                  11. Disputes, Arbitration, Waiver of Jury Demand
                                  18                  If either you or we have a dispute, the party raising the dispute will
                                                      send a written notice of the dispute to the other, along with the
                                  19                  requested resolution. You can send your request to us at
                                                      disputes@lucidmotors.com. If a dispute is not resolved within 60
                                  20                  days, you and we agree that any dispute or claim between you and us
                                                      or relating in any way to this Agreement will be resolved by binding
                                  21                  arbitration, rather than in court, except that either you or we may
                                                      assert claims in small claims court if the claims qualify. There is no
                                  22                  judge or jury in arbitration, and court review of an arbitration award
                                                      is limited. However, an arbitrator can award on an individual basis
                                  23                  the same damages and relief as a court (including injunctive and
                                                      declaratory relief or statutory damages) and must follow this
                                  24                  Agreement just as a court would. Claims arising out of or relating
                                                      to the validity, application, scope, enforceability, or
                                  25                  interpretation of this provision (the “Arbitration Agreement”)
                                                      shall also be decided by an arbitrator and will be governed by the
                                  26                  Federal Arbitration Act, 9 U.S.C. § 1 et seq. (“FAA”).
                                  27
                                       (Dkt. No. 18-2 at 6-7) (emphasis added).
                                  28
                                                                                         2
                                        Case 3:24-cv-02030-JSC            Document 22         Filed 10/08/24    Page 3 of 5




                                   1          Plaintiff does not dispute he entered into a valid Arbitration Agreement. (Dkt. No. 19 at 7

                                   2   (Plaintiff’s opposition stating “[t]here is no dispute regarding the terms of the Agreement…

                                   3   Notably, there is no reference in the Complaint objecting to any term within the Agreement.”).

                                   4   The first gateway issue is therefore not at issue. But the second gateway issue is at issue because

                                   5   Plaintiff insists the Arbitration Agreement does not apply to this dispute; instead, a voluntary

                                   6   arbitration provision included in the warranty agreement governs this dispute. Defendant

                                   7   maintains that whether the Purchase Agreement Arbitration Agreement applies to Plaintiff’s

                                   8   claims is a question for the arbitrator to decide, not the Court.

                                   9          Gateway questions of arbitrability are typically for a court to decide, even when there is a

                                  10   facial agreement to arbitrate. See Portland GE v. Liberty Mut. Ins. Co., 862 F.3d 981, 985 (9th

                                  11   Cir. 2017) (stating gateway questions of arbitrability “are presumptively reserved for the court”).

                                  12   Gateway questions include “whether the parties have a valid arbitration agreement or are bound by
Northern District of California
 United States District Court




                                  13   a given arbitration clause, and whether an arbitration clause in a concededly binding contract

                                  14   applies to a given controversy.” Id. (internal quotation marks and citation omitted). However,

                                  15   “parties may delegate the adjudication of gateway issues if they ‘clearly and unmistakably’ agree

                                  16   to do so.” Id.; see also Rent-A-Ctr., W., Inc. v. Jackson, 561 U.S. 63, 68–69 (2010) (“parties can

                                  17   agree to arbitrate ‘gateway’ questions of ‘arbitrability,’ such as whether the parties have agreed to

                                  18   arbitrate or whether their agreement covers a particular controversy” through a delegation clause)

                                  19   (internal citation omitted). “[L]anguage delegating to the arbitrators the authority to determine the

                                  20   validity or application of any of the provisions of the arbitration clause[] constitutes an agreement

                                  21   to arbitrate threshold issues concerning the arbitration agreement.” Mohamed v. Uber Techs., Inc.,

                                  22   848 F.3d 1201, 1208 (9th Cir. 2016) (citing Momot v. Mastro, 652 F.3d 982, 988 (9th Cir. 2011)

                                  23   (quoting Rent-A-Ctr., 561 U.S. at 68)).

                                  24          The Arbitration Agreement includes a delegation clause:

                                  25                  Claims arising out of or relating to the validity, application, scope,
                                  26                  enforceability, or interpretation of this provision (the “Arbitration
                                                      Agreement”) shall also be decided by an arbitrator.
                                  27

                                  28
                                                                                          3
                                           Case 3:24-cv-02030-JSC          Document 22         Filed 10/08/24     Page 4 of 5




                                   1   (Dkt. No. 18-2 at 6.) This language unambiguously delegates to the arbitrator the question of

                                   2   whether Plaintiff’s claims fall within the Arbitration Agreement’s scope.2 See Mohamed, 848

                                   3   F.3d at 1209 (holding language delegating to an arbitrator the authority “to decide issues relating

                                   4   to ‘enforceability, revocability or validity of the Arbitration Provision’” “‘clearly and

                                   5   unmistakably indicates [the parties’] intent for the arbitrators to decide the threshold question of

                                   6   arbitrability’”); see also Bielski v. Coinbase, Inc., 87 F.4th 1003, 1008 (9th Cir. 2023) (enforcing a

                                   7   delegation clause providing “[t]his Arbitration Agreement includes, without limitation, disputes

                                   8   arising out of or related to the interpretation or application of the Arbitration Agreement, including

                                   9   the enforceability, revocability, scope, or validity of the Arbitration Agreement or any portion of

                                  10   the Arbitration Agreement.”)

                                  11             Plaintiff’s insistence his claims are governed by a separate arbitration provision in the

                                  12   warranty agreement is an issue for the arbitrator to decide in light of the delegation clause.
Northern District of California
 United States District Court




                                  13   Plaintiff’s reliance on the statement in Ford Motor Warranty Cases, 89 Cal. App. 5th 1324, 1334

                                  14   (2023), that “manufacturer vehicle warranties that accompany the sale of motor vehicles without

                                  15   regard to the terms of the sale contract between the purchaser and the dealer are independent of the

                                  16   sale contract” is misplaced. Id. at 1334. It may be an appropriate case to cite to the arbitrator to

                                  17   argue the scope of the Arbitration Agreement does not apply to Plaintiff’s warranty claims, but it

                                  18   does not in any way suggest that Plaintiff can avoid the Arbitration Agreement’s delegation

                                  19   clause.

                                  20             Because Plaintiff does not challenge the delegation clause and the delegation clause clearly

                                  21   and unmistakably delegates the question of whether the Arbitration Agreement’s scope governs

                                  22   Plaintiff’s claims, an arbitrator, not the Court, must decide whether Plaintiff’s warranty claims are

                                  23   covered by the Arbitration Agreement. So, the motion to compel arbitration must be granted.

                                  24

                                  25

                                  26   2
                                        Plaintiff does not challenge the validity of the delegation clause. To do so, the resisting party
                                       “must specifically reference the delegation provision and make arguments challenging it.” Bielski,
                                  27   87 F.4th at 1011. Plaintiff could have raised generally applicable contract defenses such as fraud,
                                  28   duress, or unconscionability. See Mohamed 848 F.3d at 1209. But, Plaintiff did not.

                                                                                           4
                                        Case 3:24-cv-02030-JSC           Document 22         Filed 10/08/24     Page 5 of 5




                                   1                                             CONCLUSION

                                   2           For the reasons explained above, Defendant’s motion to compel arbitration is GRANTED.

                                   3   The claims against Lucid Group USA, Inc. in this action are STAYED pending resolution of the

                                   4   arbitration proceeding. The parties shall jointly file an update on the status arbitration by May 2,

                                   5   2025.

                                   6           IT IS SO ORDERED.

                                   7   Dated: October 8, 2024

                                   8
                                   9
                                                                                                    JACQUELINE SCOTT CORLEY
                                  10                                                                United States District Judge
                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18

                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26

                                  27

                                  28
                                                                                         5
